Case 3:22-cv-00159 Document 1-1 Filed 05/03/22 Page 1 of 10




                 Exhibit 1
            Case 3:22-cv-00159 Document 1-1 Filed 05/03/22 Page 2 of 10




                        U.S. Department of Education
                            Washington, D.C. 20202-5335




                   APPLICATION FOR GRANTS
                         UNDER THE




            Fulbright-Hays Doctoral Dissertation
            Research Abroad Fellowship Program




                                     CFDA # 84.022A
                                     PR/Award # N/A




                           OMB No. 1840-0005, Expiration Date: 07/31/2023
                                Closing Date:04/06/2022 4:30:00 PM

PR/Award # N/A
                         Case 3:22-cv-00159 Document 1-1 Filed 05/03/22 Page 3 of 10


                                                               Table of Contents

Table of Contents ..................................................................................................................................................... 2
Dear Applicant Letter .............................................................................................................................................. 3
Competition Highlights.............................................................................................................................................. 6
Notice Inviting Applications ................................................................................................................................... 8
Authorizing Legislation .............................................................................................................................................. 9
Doctoral Dissertation Research Abroad Regulations ................................................................................................ 12
Government Performance and Results Act .............................................................................................................. 18
Guidance for Developing an Evaluation Plan ........................................................................................................... 20
Guidelines for Applicant Institutions ....................................................................................................................... 25
Frequently Asked Questions for Project Directors.................................................................................................... 28
Institutional DDRA Project Directors ....................................................................................................................... 32
Technical Review Form .......................................................................................................................................... 36
Guidelines for Student Applicants ......................................................................................................................... 39
Frequently Asked Questions for Student Applicants ............................................................................................. 49
Fulbright-Hays Maintenance Allowances ............................................................................................................... 55
Fulbright-Hays Doctoral Dissertation Research Abroad Program FY 2022 Application Checklist ................................ 89
G5 e-Application Submission Procedures and Tips for Applicants ............................................................................ 91
IRB Information for Student Applicants................................................................................................................... 95
SF-424 INSTRUCTIONS ............................................................................................................................................ 98
ED Supplemental Information for the SF-424* .....................................................................................................101
SF-LLL Instructions .................................................................................................................................................107
Application for Federal Assistance SF-424 ............................................................................................................109
SUPPLEMENTAL INFORMATION REQUIRED FOR DEPARTMENT OF EDUCATION GRANTS .......................................112
OPE- Fulbright-Hays Item #22 ..............................................................................................................................113
Standard Form 424B ASSURANCES - NON-CONSTRUCTION PROGRAMS ...........................................................114
ED 80-0013 CERTIFICATION ....................................................................................................................................117
Disclosure of Lobbying Activities .........................................................................................................................118
Fulbright-Hays Doctoral Dissertation Research Abroad Program (Form #022) .......................................................120
OPE-Fulbright-Hays Graduate Student Ref Form(022) ........................................................................................124
FULBRIGHT-HAYS GRADUATE STUDENT REFEREE FORM ....................................................................................125
OPE-Fulbright-Hays Foreign Language Reference Form ..........................................................................................126
FULBRIGHT-HAYS FOREIGN LANGUAGE REFEREE FORM ....................................................................................127
FULBRIGHT-HAYS STATEMENT OF ASSENT ..........................................................................................................128
FULBRIGHT-HAYS STATEMENT OF RELEASE ........................................................................................................129




                                                                                Page 2
              Case 3:22-cv-00159 Document 1-1 Filed 05/03/22 Page 4 of 10




                                     Dear Applicant Letter




                             UNITED STATES DEPARTMEN T OF EDUCATION

                                    OFFICE OF POST SECONDARY EDUCAT ION


Dear Applicant:

Thank you for your interest in applying for a fiscal year 2022 (FY 22) grant award under the Fulbright-Hays
Doctoral Dissertation Research Abroad (DDRA) program. This application booklet includes the instructions and
forms required to submit a complete application package to the U.S. Department of Education (the Department).

Institutional grants awarded under the DDRA program enable U.S. institutions of higher education (IHEs) to
provide fellowships to meritorious doctoral students who propose to conduct dissertation research overseas for a
period of 6 - 12 months. To be eligible for DDRA fellowships, doctoral students must be admitted to candidacy
in modern foreign languages and area studies programs at U.S. IHEs.

While we encourage you to read the entire application package carefully before preparing your application, this
cover letter provides the following highlights for your consideration:

        •       Information about the DDRA program is accessible on the U.S. Department of Education’s
        Web site at: http://www.ed.gov/programs/iegpsddrap/index.html

        •         The FY 22 Notice Inviting Applications (NIA) published in the Federal Register contains the
        official requirements for the competition. Applicants should not rely upon any information that is
        inconsistent with the official NIA document.

        •        The “Competition Highlights” includes the absolute, competitive preference and invitational
        priorities and provides additional details about the competition.

        •      U.S. IHEs are the legal applicants under the DDRA program. Although the fellowships are
        subsequently awarded to students, only IHEs are eligible applicants and potential grantees.

        •        The project directors at the applicant IHEs must be registered in the G5 e-Application system
        in order to submit the institutional applications on behalf of your doctoral students. The registration
        requirements and procedures are included in the application booklet.

The list of DDRA institutions and program project directors currently registered in the G5 e-Application system
is included in the application booklet. If your institution is not listed, or your project director has changed,
please contact Dr. Pamela J. Maimer at ddra@ed.gov with the new project director’s contact information as
soon as possible.

The Department strongly encourages electronic submission of all FY 22 grant applications. You may access the
Department’s G5 e-Application system using the portal page at: www.G5.gov

Please be advised that electronic submission of applications via the G5 e-Application system is required unless
you qualify for one of the exceptions described in the Notice Inviting Applications. If you think you may need
                                                     Page 3
              Case 3:22-cv-00159 Document 1-1 Filed 05/03/22 Page 5 of 10



an exception, please review the exception requirements early on your application preparation process.

And finally, applications must be submitted on or before the deadline date. Late applications will not be
considered, and applicants cannot submit any changes or additions to their applications after the deadline date.
The Department is required to enforce the established deadline to ensure fairness to all applicants.

We look forward to receiving your application and appreciate your efforts to strengthen U.S. capacity in
international and foreign language expertise and prepare students with the global competencies needed to meet
today’s global challenges.

Sincerely,

/s/

Cheryl E. Gibbs
Senior Director
International and Foreign Language Education




                                                      Page 4
            Case 3:22-cv-00159 Document 1-1 Filed 05/03/22 Page 6 of 10




                                Technical Review Form

Quality of Proposed Project - Quality of Proposed Project (60 points)

 Quality of Proposed Project - The Secretary reviews each application to determine the
 quality of the research project proposed by the applicant. The Secretary considers:

   1. The statement of the major hypotheses to be tested or questions to be examined and
      the description and justification of the research methods to be used. (15 points)

              Strength:

              Weakness

              Reader’s Score:

   2. The relationship of the research to the literature on the topic and to major
      theoretical issues in the field, and the project's originality and importance in terms of
      the concerns of the discipline. (10 points)

              Strength:

              Weakness

              Reader’s Score:

   3. The preliminary research already completed in the United States and overseas or
      plans for such research prior to going overseas, and the kinds, quality and availability
      of data for the research in the host country or countries. (10 points)

              Strength:

              Weakness

              Reader’s Score:

   4. The justification for overseas field research, and preparations to establish
      appropriate and sufficient research contacts and affiliations abroad. (10 points)

              Strength:

              Weakness

              Reader’s Score:




                                            Page 36
            Case 3:22-cv-00159 Document 1-1 Filed 05/03/22 Page 7 of 10




   5. The applicant's plans to share the results of the research in progress and a copy of
      the dissertation with scholars and officials of the host country or countries. (5 points)

              Strength:

              Weakness

              Reader’s Score:

   6. The guidance and supervision of the dissertation advisor or committee at all stages of
       the project, including guidance in developing the project, understanding research
       conditions abroad, and acquainting the applicant with research in the field. (10 points)

              Strength:

              Weakness

              Reader’s Score:

Qualifications of the Applicant – (40 points)

 Qualifications of the Applicant - The Secretary reviews each application to determine the
 qualifications of the applicant. The Secretary considers:

   1. The overall strength of the applicant's graduate academic record. (10 points)

              Strength:

              Weakness

              Reader’s Score:

   2. The extent to which the applicant's academic record demonstrates a strength in area
      studies relevant to the proposed project. (10 points)

              Strength:

              Weakness

              Reader’s Score:

   3. The applicant's proficiency in one or more of the languages (other than English and
      the applicant's native language) of the country or countries of research, and the
      specific measures to be taken to overcome any anticipated language barriers. (15
      points)

              Strength:

              Weakness

                                                Page 37
            Case 3:22-cv-00159 Document 1-1 Filed 05/03/22 Page 8 of 10



               Reader’s Score:

    4. The applicant's ability to conduct research in a foreign cultural context, as evidenced
       by the applicant's references or previous overseas experiences, or both. (5 points)

               Strength:

               Weakness

               Reader’s Score:

 General Comments –

 General Comments Please provide general comments.

Priority Questions
 Competitive Preference Priority 1--Focus on Less Commonly Taught Languages (2
 points).

 A research project that focuses on any modern foreign language except French, German,
 or Spanish.

 Competitive Preference Priority 2--Thematic Focus on Academic Fields (2 points).

 Applications that propose dissertation research projects in modern foreign languages and
 area studies with an academic focus on any of the following academic fields: science
 (including climate change), technology, engineering (including infrastructure studies),
 mathematics, computer science, education (comparative or international), international
 development, political science, public health (including epidemiology), or economics.

 Note: Applicants that address Competitive Preference Priority 2 must intend to engage in full-
 time dissertation research abroad in modern foreign languages and area studies with a thematic
 focus on any one of the academic fields referenced above.

 Competitive Preference Priority 3: Focus on Minority-Serving Institutions (2 points).
 Projects proposed by one of the following entities:

•   Historically Black colleges and universities: Colleges and universities that meet the criteria
    set out in 34 CFR 608.2.

•   Minority-Serving Institutions: An institution that is eligible to receive assistance under
    sections 316 through 320 of part A of title III, under part B of title III, or under title V of the
    of the Higher Education Act (HEA) of 1965.

•   Tribal colleges or universities: An institution eligible to receive assistance in section
    316(b)(3) of the HEA.




                                                Page 38
            Case 3:22-cv-00159 Document 1-1 Filed 05/03/22 Page 9 of 10




            b. Host country visa requirements (it is recommended that applicants review host
                country visa requirements before applying) Feasibility of research
            c. Safety and security concerns
            d. The use of English that can readily be understood by well-educated non-
                   specialists.
         Awards are not made to applicants planning to conduct research on topics that are
         determined to be politically sensitive or unfeasible by the U.S. Embassy or Fulbright
         Commission in the host country. It should also be noted that the U.S. Department of
         Education will not submit to the host country "dummy" proposals (i.e., proposals that
         do not accurately reflect the research purpose in the hope of avoiding difficulties with
         host country acceptance of the proposal).
         When writing the narrative students should have a well-thought out hypothesis; use
         well-defined terms and variables. The proposed research should be based on solid
         reasoning and previous research. It should pose a specific research question with a
         predicted outcome and a reasonable scope given the time to completion.
    2.   The bibliography must be uploaded as an attachment into the G5 grant management
         system. Please note the page limitations specified in the Federal Register notice.
    3.   Host country supporting materials must be uploaded as an attachment into the G5 e-
         Application system. Host country supporting materials refers to letters of invitation,
         affiliation, etc. Though not required for the application, this information only serves to
         strengthen an application. All host country supporting materials must be combined into
         one document for uploading into the G5 e-Application system.
    4.   Transcripts must be uploaded as an attachment into the G5 e-Application
         system. All transcripts must be combined into one document for uploading into
         the G5 e-Application system. Remove all personally identifiable information,
         including social security numbers, birthdate, student IDs or addresses prior to
         uploading documents.
    5.   Please note the following tips related to attaching images of transcripts to your
         application: Make a copy of the original file before continuing.
              a. Crop the image using any standard image editing tool and remove any
                   unnecessary portions of the picture.
              b. Change the overall pixel dimensions to go smaller either by “Image Size,”
                   “Resize,” or “Resample”. Try to make the image dimension closer to 640 x 480
                   pixel (approximately 4 x 7 image size). This will make the image smaller and
                   easy for sharing.
              c. After sizing the image, be sure to do a Save As so you don’t overwrite your
                   original file. Save the image as a JPEG or JPG file.
              d. When choosing the compression level, keep quality in the medium to high
                   range. You may want to target a file size of 30 to 100 KB per image. Try not to
                   exceed 100 KB per image.
              e. Once the images have been resized and saved as JPEG/JPG format, they will
                   have a small size compared to the original files. Use these new images to
                   create the final document in PDF format.

Instructions for Fulbright-Hays Foreign Language Reference Form
The language reference form, which is required for this program, should be completed by a



                                               Page 45
          Case 3:22-cv-00159 Document 1-1 Filed 05/03/22 Page 10 of 10



specialist in the language. Student applicants must initiate an e-mail to their referring specialists
via the G5 e-Application system. Upon receipt of this e-mail, the reference will be able to access
the G5 e-Application system and complete the reference form. When the reference submits the
form, it will automatically become part of the student’s application, so that it is submitted to
US/ED when the Project Director transmits the entire application package. All completed
reference forms must be submitted to the Project Director for transmittal to US/ED via G5 e-
Application. Do not submit your references directly to US/ED, as they will not be accepted or
included with your application. Please re mind your reference writer to submit the form by
the internal deadline set by your institutional Project Director. The G5 e -Application
system will not accept submission from web/email accounts and servers not located in the
United States.
A completed reference for each language listed in item 9 of the Fulbright-Hays Foreign
Language Reference Form must be submitted.

Special Note on Language Acquisition

If an applicant is a native speaker or a heritage language speaker, this should be reflected in
the application. The term native speaker means a person who has spoken the language in
question from earliest childhood and remains fluent in that language. The term “heritage”
speaker is used to refer to a student who is raised in a home where a non-English language is
spoken, who speaks or merely understands the heritage language, and who is to some degree
bilingual in English and the heritage language, but lacks native level fluency in writing,
speaking, and understanding in that language. In most cases, the heritage speaker will have
attended schools in which the principal language of instruction is English rather than the
language spoken at home. Applicants who self-identify as a heritage speaker will be evaluated
according to their proficiency scores in the application. We recommend that students list their
language acquisition status in their CV to clarify their status (native speaker, non-native
speaker, heritage speaker). It is the student’s responsibility to ensure their language acquisition
status is clear in the application. During the review process, if the language learner status is not
clear in the application, the reviewers will score as they feel appropriate based on the
information provided.

Please be aware that in our regulations under §662.21 (c)(3), native speakers are not eligible for
points (Criterion 3 under “Qualifications of the Applicant”). Heritage speakers may be eligible
for up to 10 points, provided that (1) self identifies as a heritage language speaker; (2) the
applicant provides information on their primary and secondary education location and primary
language of instruction; (2) additionally the applicant must be rated by their Foreign Language
Referee as advanced or expert level in language proficiency scores. The reasoning behind this
scoring is that the DDRA program is intended to enhance the foreign language competence of
individuals trained in American schools, and the criterion gives greater emphasis to having
acquired a foreign language and would encourage students to acquire an additional foreign
language.

Instructions for Fulbright-Hays Graduate Student Reference Form
One of the three personal references must be obtained from the student's dissertation advisor.
Student applicants must initiate an e-mail to their references via the G5 e-Application. Upon
receipt of this e-mail, the reference will be able to access the G5 e-Application system and



                                               Page 46
